                       THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                          Civil Action No.: 3:19-CV-00624-SCR

DAVID DUVALL,

                       Plaintiff,

       v.

NOVANT HEALTH, INC.,

                       Defendant.


                                             ORDER

       THIS MATTER is before the Court on Plaintiff’s Motion (Doc. No. 199) for the Court to

enter an Order directing the Clerk to enter a Second Amended Judgment in this matter while

reserving, if necessary, the determination of amount of an award of attorneys’ fees to Plaintiff for

the time spent on appeal. Defendant has filed a Notice that it takes no position on the Motion.

(Doc. No. 200).

       This Order follows the April 3, 2024 mandate of the United States Court of Appeals for

the Fourth Circuit regarding its decision of March 12, 2024, pertaining to Defendant’s appeal from

the jury verdict and post-trial orders of this Court regarding the trial of this matter. The Fourth

Circuit vacated this Court’s judgment as to punitive damages, but otherwise affirmed the jury

verdict and this Court’s judgment as to back pay, prejudgment interest, front pay and attorneys’

fees, and remanded the case for entry of an amended judgment consistent with its decision.

       The parties have agreed on the terms of a Second Amended Judgment except as to the

amount of additional attorneys’ fees awardable to Plaintiff. The parties have agreed that the Court

may reserve its decision on the amount of attorneys’ fees to award related to the appeal.




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       Wherefore it is ORDERED AND ADJUDGED that Plaintiff’s Motion (Doc. No. 199) is

GRANTED, and the Clerk shall enter a Second Amended Judgment, amending the Amended

Judgment entered on October 28, 2022, in the format submitted by the parties that provides as

follows:

       Plaintiff is awarded the following relief:

               $2,457,527 in back pay;
               $332,793 in prejudgment interest;
               $1,078,066 in front pay;
               $399,105 in attorney’s fees; and,
               $15,482.11 in costs.

       Interest on the above amounts shall accrue from October 28, 2022, at the rate of
       4.57 percent per annum applicable on that date, compounded annually, until the
       date on which the judgment is satisfied, pursuant to 28 U.S.C. § 1961.

       The Court reserves ruling on Plaintiff’s Motion for Attorneys’ Fees on Appeal and will

enter a separate Order as to the award of Attorneys’ fees at a later date. This Order renders MOOT

the Plaintiff’s prior motion for entry of a Second Amended Judgment (Doc. No. 197).

       SO ORDERED.
                                              Signed: September 11, 2024




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